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CIVIL MOTION HEARING

       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

Date: November 22, 2019
Judge B. Lynn Winmill                Deputy Clerk: Jamie Bracke
Case No. 1:17-cv-524                 Reporter: Tammy Hohenleitner
Place: Boise                         Time: 10:08 – 11:18 a.m.


GARY L. MERCHANT v. CORIZON, L.L.C., et al

Counsel for Plaintiff: Jason Monteleone

Counsel for Defendant: Dylan Eaton

A hearing was held regarding the following motions:

   1) Motion for Summary Judgment (Dkt. 57); and

   2) Motion in Limine Regarding Striking Plaintiff’s Expert Witness (Dkt. 58).

After oral argument, the Court GRANTED Defendants’ Motion for Summary Judgment (Dkt.
57), and GRANTED Defendants’ Motion in Limine Regarding Striking Plaintiff’s Expert
Witness (Dkt. 58), as stated on the record.

THESE MINUTES SHALL STAND AS ORDER OF THE COURT.
